125678596 Bostick, Deirdre Lynn (Maint)                                                                                                         Exhibit 1




  BRO        125678596                 Bos.tic~, Deirdte L                                                                                  ').!3.();' HarnptoP Hill~ Brvd, Tam2rac1   33321                                   125678596

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                                                                  Deirdre                                    Lynn                                                            H HSrV!V                             1F,Form
   Bostick
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                 Suf        Dir           Street Narne                                          Typf                 Dir Swf     Unit Typ~ Nbr                           City NFarne                        Counly               .Zip C{)dt
   Nbr
   5867                                   Hampton Hills
                                                                                                 i_Blvd _ -- -      Jr---~l      . _ i-   - ~
                                                                                                                                                                         Tamarac                            BROWARD              33321

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    Election Worker
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125678596 Bostick, Deirdre Lynn (Doc Images)




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125678596 Bostick, Deirdre Lynn (Activity)




                                           BRO        125678596              BostcK. Deiror1;, L                                           586/ Harnpton H!i!s Blvd, Tarn~H2iC. 33321


                                                   Lc,st Voter Activity D:,;,1;,      Nov/03/2020   pre-•r:vns H€9n    Nurnber       125678596

                                                   D,ite L;,s\ VoterJ                 Nov/03/2020   R.eg istraHen Code

                                                   D,i\e o-F Lm,t SttJtus Cr1,mge May/09/2018       [hite Las1 Voler Card Printed Oct/02/2020

                                                                                      May/09/2018   Nt1rnl:>er oF Tirnes Vvt';;d
                                                   Record Cre~tivn Di~te
                                                                                                    2021           0          2020               2019         0
                                                                                      May/08/2018   2018           0
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                                                   Date                              Operator
                                                   10/30/20 06:21 :35 PM             brofab5




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125678596 Bostick, Deirdre Lynn (Elections)




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                                                                                                                          ...
                                             Elec#    Date       Name                       EViD Sig   Status/History

                                             229       11/2/2021 Sp Pri -US House Dist      N          Eligible (001 D)
                                                                 f.0
                                             225       11/3/2020 2020 General Election      N          Voted Early




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125678596 Bostick, Deirdre Lynn (Audit)




                                                  BRO     125678596      8vstcK. De!rctre L                                                                      b867 Harnp(on HH:s B!vd. T~rna rac. 33321
                                                                        Cnty      Operator    Field        New Value                                         Old Value
                                              iDate
                                              '                                                            10/30/2020 6:21 :35 PM                            9/6/2018 12:00:00 AM
                                              ; 10/30/2020 6:21 PM      BRO       brofab5     ActyDt

                                                  10/30/2020 4:01 PM              MMM         Early Vote   225 2020 General Election                         Ballot=(041G)1007480

                                                  10/20/2020 5:37 PM              choward     Comm-In      BACK of Card 1mg

                                                  10/2/2020 2:47 PM               ggrant      Comm-Out     Sent a Voter Id Card                              Replacement Voter Card Sch'd
                                                                                                                                     ----·····-····-·   ····--· b_'Lk.b.oP.e
                                                  10/1/2020 5:33 PM     BRO       khope       FvrsLCD      10/01/2020 17:34:27:00(RG05)                      10/01/2020 17:21:59:00

                                                  10/1/2020 5:21 PM     BRO       khope       FvrsLCD      10/01/2020 17:21 :59:00(RG05)                     09/06/2018 11 : 12:36:00

                                                  10/1/2020 5:21 PM     BRO        khope      ResAd        5867 Hampton Hills Blvd                           9130 Pershore Pl

                                                  9/7/201810:59AM                  kwaite     Comm-Out     Sent a Voter Id Card                              Change of Address Sch'd by
                                                                                                                                                             sroberts
                                                  9/6/2018 11 :13 AM                          Regn-Form    Change of Details:                                DMV1 , OMV · NW 9th Ave

                                                  9/6/2018 11: 13 AM    BRO        sroberts   ActyDt       9/6/2018 11 :12:27 AM                             5/9/2018 12:00:00 AM

                                                  9/6/2018 11 :1 3 AM   BRO        sroberts   City         31 (TAMARAC)                                      21 (SUNRISE)

                                                  9/6/2018 11: 13 AM    BRO        sroberts   CtyWd        312                                               211

                                                  9/6/2018 11 :13 AM    BRO        sroberts   FvrsLCD      09/06/2018 11 :12:36:00(RG01)                     05/09/2018 16:36:51 :00

                                                  9/6/2018 11 :13 AM    BRO        sroberts   Prior        8819 Springtree Lakes              5304 Harmon
                                                                                                           DrJljSunris.eJBRQIFLL33351 ______. Pllll.KannffiloJisUNCl2~083
                                                  9/6/201811:13 AM      BRO        sroberts   PtyChRq      08/30/2018

                                                  9/6/2018 11:13 AM     BRO        sroberts   RePrc        jo19.1                                             M026.0

                                                  9/6/2018 11 :13 AM    BRO        sroberts   ResAd        9130 Pershore Pl                                   881 9 Springtree Lake Dr

                                                  9/6/2018 11 :13 AM    BRO        sroberts   Usps         199                                                192

                                                  9/6/201811:13AM       BRO        sroberts   Zip          33321                                              33351

                                                  9/6/2018 11:12AM                 sroberts   Comm-In      Office Note:                                       Processed Application from
                                                                                                                                                              Suspense Queµe, originatinuout




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125678596 Bostick, Deirdre Lynn (Audit)




                                           BRO     125678596     Llost;cK. D-e i1dre L                                               ~;867 H8n-1ptGn Hins 8ivd, Ti:1rniH2lC, 3:t32'1

                                          Date                  Cnty        Operator     Field       New V alue                  Old Value

                                          9/6/2018 11 : 12 AM               sroberts     Comm-In     Office Note:                Processed Application from
                                                                                                                                 Susoens~QueueLoriqina!inq ouL_
                                          8/30/2018 12:00 AM                brofab5      Comm-In     Scanned Front of Card 1mg

                                          5/10/2018 3:18 PM                 cvazquez     Comm-Out    Sent a Voter Id Card        New Voter Registration Sch'd by
                                                                                                                                 F\l'.RS/BRO
                                          5/9/2018 4:38 PM      BRO         FVRS/BRO     Brnch       1
                                                                                                                                                                  ·•- •¥ • •·.. ·•- · - ···


                                          5/9/2018 4:38 PM      BRO         FVRS/BRO     MilCiv      C

                                          5/9/2018 4:38 PM      BRO         FVRS/BRO     Reasn       1 ( 1(A) Active Voter)      ZZ (ZZ(Z) Pending HSMV
                                                                                                                                 Verification\
                                                                                                     A
                                                                                                                                 z        ....
                                          5/9/2018 4:38 PM      BRO         FVRS/BRO     Situs

                                          5/9/2018 4:36 PM                               Regn-Form   Good Registration:          DMV1, DMV - NW 9th Ave

                                          5/9/2018 4:36 PM                  cmartin      Comm-In     Office Note:                Processed Application from
                                                                                                                                 Suspense QueueLoriqinatinq Q.Y.t_
                                          5/9/2018 4:36 PM      BRO         cmartin      ActyDt      5/9/2018 4:36:47 PM         1/1/1 880 12:00:00 AM

                                          5/9/2018 4:36 PM      BRO          cmartin     AProt       N

                                          5/9/2018 4:36 PM      BRO          cmartin     Asist       N

                                          5/9/2018 4:36 PM      BRO          cmartin     BDate       3/6/1959 12:00:00 AM        1/1/1880 12:00:00 A M

                                          5/9/2018 4:36 PM      BRO          cmartin     BPlce       us
                                          5/9/201 8 4:36 PM     BRO          cmartin     City        21 (SUNRISE)

                                          5/9/2018 4:36 PM      BRO          cmartin     CtyWd       211

                                           5/9/201 8 4:36 PM    BRO          cmartin     Drvlc

                                           5/9/2018 4:36 PM     BRO          cmartin     Email s     N

                                           5/9/2018 4:36 PM     BRO          cmartin     FedEI       N

                                           5/9/2018 4:36 PM     BRO          cmartin     FName       Deirdre




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                                          5/9/2018 4:36 PM     BRO                    cmartin              Fvrs      125678596

                                          5/9/2018 4:36 PM     BRO                    cmartin              FvrsLCD   05/09/2018 16:36:51 :00

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                                          5/9/2018 4:36 PM     BRO                    cmartin              L4SSN

                                          5/9/2018 4:36 PM     BRO                    cm artin             LName     Bostick

                                          5/9/20 18 4:36 PM    BRO                    cmartin              MilDep    N

                                          5/9/2018 4:36 PM     BRO                    cmartin              MName     Lynn

                                          5/9/2018 4:36 PM     BRO                    cmartin              NoDlnSs   N

                                          5/9/2018 4:36 PM     BRO                    cmartin              Party     Dem

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                                          5/9/2018 4:36 PM      BRO                    cmartin             RePrc      M026.0

                                          5/9/2018 4:36 PM      BRO                    cmartin             ResAd      8819 Springtree Lake Dr Appl

                                           5/9/2018 4:36 PM     BRO                    cmartin             Sex        F

                                          5/9/2018 4:36 PM      BRO                    cmartin             SocSc

                                           5/9/2018 4:36 PM     BRO                    cmartin             Situs      z




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125678596 Bostick, Deirdre Lynn (Audit)




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                                      5/9/2018 4:36 PM      BRO       cmartin     MilDep              N

                                      5/9/2018 4:36 PM      BRO       cmartin     MName
                                                                                                 ·-   Lynn

                                      5/9/2018 4:36 PM      BRO       cmartin     NoDlnSs             N

                                      5/9/2018 4:36 PM      BRO       cmartin     Party               Dem

                                      5/9/2018 4:36 PM      BRO       cmartin     Prior              5304 Harmon                          1111!1
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                                      5/9/2018 4 :36 PM     BRO       cmartin     PtyChRq            05/08/2018

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                                      5/9/2018 4:36 PM      BRO       cmartin     Reasn               ll. (ZZ(Z) Pending HSMV
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                                      5/9/2018 4:36 PM      BRO        cmartin    RegDt               5/8/2018 12:00:00 AM                1/1/ 18B0 12:00:00 AM

                                      5/9/2018 4:36 PM      BRO        cmartin    RePrc                   M026.0

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                                      5/9/2018 4:36 PM      BRO        cmartin    Sex                     F

                                      5i9/2018 4:36 PM      BRO        cmartin    SocSc
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                                       5/9/201B 4:36 PM     BRO        cmartin    Situs                   z
                                       5/9/2018 4:36 PM     BRO        cmartin    SupVot                  }..J

                                       5/9/2018 4:36 PM     BRO        cmartin    Usps                     192

                                       5/9/201 8 4:36 PM    BRO        cmartin    Zip                      33351

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